






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00132-CV







In re John A. Thompson, Jr.








ORIGINAL PROCEEDING FROM TRAVIS COUNTY




M E M O R A N D U M   O P I N I O N



	John A. Thompson, Jr. moves to dismiss his petition for writ of mandamus because
the case underlying this petition has proceeded to trial, rendering the petition moot.  We grant the
motion and dismiss this petition.



					                                                                                    

					Bea Ann Smith, Justice

Before Justices B. A. Smith, Puryear, and Pemberton

Filed:   October 5, 2005


